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JOSEPH L. ANDERSON BAR ADMISSIONS
Federal

United States Supreme Court April 2014

United States Court of Appeals for the Federal Circuit August 1991
Ninth Circuit Court of Appeals February 1992

Fourth Circuit Court of Appeals April 1998

Southern District West Virginia May 2002

Northern District of California October 1991

Central District of California December 1990

Eastern District of North Carolina May 1998

Western District of North Carolina August 1997

Middle District of North Carolina June 1993

State Courts

California September 1989

North Carolina May 1993

District of Columbia Court of Appeals April 2001
West Virginia May 2002

Kentucky July 2001 (inactive)

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